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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                 )       CASE NO. 1:17-MD-2804
OPIATE LITIGATION                            )
                                             )       JUDGE POLSTER
THIS DOCUMENT RELATES TO:                    )
“All Cases”                                  )
                                             )
                                             )       ORDER REGARDING
                                             )       TRACK 1B and TRACK THREE


       In light of the recent Order by the Sixth Circuit Court of Appeals granting the Pharmacy

Defendants’ petition for writ of mandamus,1 the Court rules as follows.

       First, the appellate court remanded the Track 1B cases2 “with instructions to strike each

County’s November 2019 ‘Amendment by Interlineation.’” Mandamus Order at 9. Accordingly,

the following documents are stricken: MDL master docket numbers 2943 and 2944. This works

to remove Plaintiffs’ “dispensing claims” against the Pharmacy Defendants in Track 1B. Plaintiffs

have advised the Court they wish to proceed in Track 1B on their remaining “distribution claims”

against the Pharmacy Defendants. Given that most of the discovery has been done on these claims,



       1
         In re: National Prescription Opiate Litig., case no. 20-3075, dkt no. 50-3 (6th Cir. April
15, 2020) (“Mandamus Order”).
       2
        The Track 1B cases are: (1) The County of Cuyahoga, Ohio v. Purdue Pharma L.P., case
no. 17-op-450041 (N.D. Ohio); and (2) The County of Summit, Ohio v. Purdue Pharma L.P., case
no. 18-op-450901 (N.D. Ohio).
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the Court believes that, even with the exigencies of COVID-19, the current schedule culminating

in a November, 2020 trial remains reasonable and realistic.

       Second, the Court now directs as follows. The Court will select a case for a Track 3

bellwether trial in the Northern District of Ohio, at which will be decided: (1) only public nuisance

claims (2) against only the pharmacy defendants (2) in their roles as distributors and dispensers. On

or before noon EST on Thursday, April 23, 2020, the PEC shall identify potential cases for Track

3.3 The Pharmacy Defendants shall then meet and confer with the PEC to determine whether they

can reach agreement on which case(s) will be selected for Track 3. On or before noon EST on

Tuesday, April 28, 2020, the parties shall report to the Court on the status of this issue. If there is

no agreement, the Court will choose.



                                                       /s/ Dan Aaron Polster
                                                       DAN AARON POLSTER
                                                       UNITED STATES DISTRICT JUDGE

Dated: April 16, 2020




       3
          Among other characteristics, the potential cases must: (1) be triable in the Northern District
of Ohio; (2) already name Pharmacies as defendants; and (3) be brought by municipal entity
plaintiffs, that are willing to try only the above-described claims at the bellwether trial. Plaintiffs
may suggest that Track 3 proceed with a single plaintiff’s case or with multiple cases (as has
occurred with Track 1B). If the potential cases currently state only distribution claims (as opposed
to dispensing claims) against the Pharmacy Defendants, and if an answer has not yet been filed, the
Court will allow the filing of amended complaints to state dispensing claims. If the potential cases
currently state only distribution claims and an answer has already been filed, the Court will later
receive and decide motions to amend, unless the Pharmacy Defendants stipulate to amendment of
the complaints to state dispensing claims.

                                                   2
